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 7                              UNITED STATES DISTRICT COURT
 8                          CENTRAL DISTRICT OF CALIFORNIA
 9

10    KATHY LIRA, individually and on behalf Case No. 8:18-cv-422
      of all others similarly situated,
11                                             CLASS ACTION COMPLAINT FOR:
                    Plaintiff,
12                                             1. VIOLATIONS OF CALIFORNIA’S.
                    v.
13                                                AUTOMATIC RENEWAL LAW
      BUMP BOXES, INC., an Illinois               (BUSINESS AND PROFESSIONS
14    corporation; and DOES 1 – 10, inclusive,    CODE §§ 17600·17604); AND
                                               2. VIOLATIONS OF CALIFORNIA’S
15                  Defendants.                   UNFAIR COMPETITION LAW
16
                                                  (BUSINESS AND PROFESSIONS
                                                  CODE §§ 17200-17204)
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                                      CLASS ACTION COMPLAINT
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1           Plaintiff Kathy Lira (“Plaintiff”), on behalf of herself and all others similarly
2     situated, complains and alleges as follows:
3                       INTRODUCTION & OVERVIEW OF CLAIMS
4           1.    Plaintiff brings this class action on behalf of herself and a class of others
5     similarly situated consisting of all persons in California who, within the applicable
6     statute of limitations period up to and including the date of judgment in this action,
7     purchased subscriptions for products (such as pregnancy party gifts and related
8     products) from Bump Boxes, Inc. (‘‘Defendant”). The class of others similarly situated
9     to Plaintiff is referred to herein as “Class Members.”        The claims for damages,
10    restitution, injunctive and/or other equitable relief, and reasonable attorneys’ fees and
11    costs arise under California Business and Professions Code (hereinafter “Cal. Bus. &
12    Prof. Code”) §§ 17602, 17603, 17604) and 17200, et seq., and California Code of Civil
13    Procedure § 1021.5. Plaintiff and Class Members are consumers for purposes of Cal.
14    Bus. & Prof. Code §§ 17600-17606.
15          2.    During the Class Period, Defendant made automatic renewal or continuous
16    service offers to consumers in California and (a) at the time of making the automatic
17    renewal or continuous service offers, failed to present the automatic renewal offer terms
18    or continuous service offer terms, in a clear and conspicuous manner and in visual
19    proximity to the request for consent to the offer before the subscription or purchasing
20    agreement was fulfilled in violation of Cal. Bus. & Prof. Code § 17602(a)(l ); (b)
21    charged Plaintiff’s and Class Members’ credit or debit cards, or third-party account
22    (hereinafter “Payment Method”) without first obtaining Plaintiff’s and Class Members’
23    affirmative consent to the agreement containing the automatic renewal offer terms or
24    continuous service offer terms in violation of Cal. Bus. & Prof. Code§ 17602(a)(2); and
25    (c) failed to provide an acknowledgment that includes the automatic renewal or
26    continuous service offer terms, cancellation policy, and information regarding how to
27    cancel in a manner that is capable of being retained by the consumer in violation of Cal.
28    Bus. & Prof. Code §§ 17602(a)(3) and 17602(b).           As a result, all goods, wares,

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1     merchandise, or products sent to Plaintiff and Class Members under the automatic
2     renewal of continuous service agreements are deemed to be an unconditional gift
3     pursuant to Cal. Bus. & Prof. Code § 17603.
4           3.     As a result of the above, Plaintiff, on behalf of herself and Class Members,
5     seeks damages, restitution, declaratory relief, injunctive relief and reasonable attorneys’
6     fees and costs pursuant to Cal. Bus. & Prof. Code, §§ 17603, 17203, and 17204, and
7     Code of Civil Procedure § 1021.5.
8                                 JURISDICTION AND VENUE
9           4.     This Court has diversity jurisdiction over this class action pursuant to 28
10    U.S.C. § 1332 as amended by the Class Action Fairness Act of 2005 because the
11    amount in controversy exceeds five million dollars ($5,000,000.00), exclusive of
12    interest and costs, and is a class action in which some members of the class are citizens
13    of different states than Defendant. See 28 U.S.C. § 1332(d)(2)(A).
14          5.     This Court also has personal jurisdiction over Defendant because
15    Defendant currently does business in this state.
16          6.     Venue is proper in this Court pursuant to 28 U.S.C. § 1391 because
17    Defendant is subject to personal jurisdiction in this District and a substantial portion of
18    the conduct complained of herein occurred in this District.
19                                           PARTIES
20          7.     Plaintiff purchased a subscription plan from Defendant in California
21    during the Class Period. Plaintiff and Class Members are consumers as defined under
22    Cal. Bus. & Prof. Code § 17601(d).
23          8.     Plaintiff is informed and believes, and upon such information and belief
24    alleges, that Defendant Bump Boxes, Inc. is an Illinois corporation with its principal
25    place of business located in Peoria, Illinois. Defendant operates in California and has
26    done business in California at all times during the Class Period. Also during the Class
27    Period, Defendant made, and continues to make, automatic renewal or continuous
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1     service offers to consumers in California. Defendant operates a website which markets
2     pregnancy party gifts and related products.
3           9.    The true names and capacities of the Defendants sued herein as DOES 1
4     through 10, inclusive, are currently unknown to Plaintiff, who therefore sues such
5     Defendants by fictitious names. Each of the Defendants designated herein as a DOE is
6     legally responsible for the unlawful acts alleged herein. Plaintiff will seek leave of
7     Court to amend this Complaint to reflect the true names and capacities of the DOE
8     Defendants when such identities become known.
9           10.   At all relevant times, each and every Defendant was acting as an agent
10    and/or employee of each of the other Defendants and was acting within the course
11    and/or scope of said agency and/or employment with the full knowledge and consent of
12    each of the Defendants. Each of the acts and/or omissions complained of herein were
13    alleged and made known to, and ratified by, each of the other Defendants (Bump
14    Boxes, Inc. and DOE Defendants will hereafter collectively be referred to as
15    “Defendant”).
16                                FACTUAL BACKGROUND
17    California Business Professions Code §§ 17600-17606
18          11.   On December 1, 2010, sections 17600-17606 of the Cal. Bus. & Prof.
19    Code came into effect. The Legislature’s stated intent for this Article was to end the
20    practice of ongoing charges to consumers’ Payment Methods without consumers’
21    explicit consent for ongoing shipments of a product or ongoing deliveries of service.
22    See Cal. Bus. & Prof. Code § 17600.
23          12.   Cal. Bus. & Prof. Code § 17602(a) makes it unlawful for any business
24    making an automatic renewal or continuous service offer to a consumer in this state to
25    do any of the following:
26          (1)   Fail to present the automatic renewal offer terms or continuous
27                service offer terms in a clear and conspicuous manner before the
                  subscription or purchasing agreement is fulfilled and in visual
28

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                   proximity, or in the case of an offer conveyed by voice, in temporal
1                  proximity, to the request for consent to the offer.
2
            (2)    Charge the consumer's credit or debit card or the consumer’s
3                  account with a third party for an automatic renewal or continuous
                   service without first obtaining the consumer's affirmative consent to
4                  the agreement containing the automatic renewal offer terms or
                   continuous service offer terms.
5

6           (3)    Fail to provide an acknowledgment that includes the automatic
                   renewal or continuous service offer terms, cancellation policy, and
7                  information regarding how to cancel in a manner that is capable of
                   being retained by the consumer. If the offer includes a free trial, the
8                  business shall also disclose in the acknowledgment how to cancel
9                  and allow the consumer to cancel before the consumer pays for the
                   goods or services.
10
            13.    Cal. Bus. & Prof. Code § 17601(a) defines the term “Automatic renewal”
11
      as a “plan or arrangement in which a paid subscription or purchasing agreement is
12
      automatically renewed at the end of a definite term for a subsequent term.”
13
            14.    Cal. Bus. & Prof. Code § 17601(b) defines the term “Automatic renewal
14
      offer terms” as “the following clear and conspicuous disclosures: (1) That the
15
      subscription or purchasing agreement will continue until the consumer cancels. (2) The
16
      description of the cancelation policy that applies to the offer. (3) The recurring charges
17
      that will be charged to the consumer’s credit or debit card or payment account with a
18
      third party as part of the automatic renewal plan or arrangement, and that the amount of
19
      the charge may change, if that is the case, and the amount to which the charge will
20
      change, if known. (4) The length of the automatic renewal term or that the service is
21
      continuous, unless the length of the tern is chosen by the consumer. (5) The minimum
22
      purchase obligation, if any.”
23
            15.    Pursuant to Cal. Bus. & Prof. Code § 17601(c), “clear and conspicuous” or
24
      “clearly and conspicuously’’ means “in larger type than the surrounding text, or in
25
      contrasting type, font, or color to the surrounding text of the same size, or set off from
26
      the surrounding text of the same size by symbol ls or other marks, in a manner that
27
      clearly calls attention to the language.”
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                                       CLASS ACTION COMPLAINT
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            16.    Section 17602(b) provides: “A business making automatic renewal or
1
      continuous service offers shall provide a toll-free telephone number, electronic mail
2
      address, a postal address only when the seller directly bills the consumer, or another
3
      cost-effective, timely, and easy-to-use mechanism for cancellation that shall be
4
      described in the acknowledgment specified in paragraph (3) of subdivision (a).”
5
            17.    Section 17603 of Cal. Bus. & Prof. Code provides: “In any case in which a
6
      business sends any goods, wares, merchandise, or products to a consumer, under a
7
      continuous service agreement or automatic renewal of a purchase, without first
8
      obtaining the consumer’s affirmative consent as described in Section 17602, the goods,
9
      wares, merchandise, or products shall for all purposes be deemed an unconditional gift
10
      to the consumer, who may use or dispose of the same in any manner he or she sees fit
11
      without any obligation whatsoever on the consumer’s part to the business, including.
12
      but not limited to, bearing the cost of, or responsibility for, shipping any goods, wares,
13
      merchandise, or products to the business.”
14
      Defendant’s Business
15
            18.    Defendant offers, at its website, found at bumpboxes.com, various
16
      subscriptions for pregnancy party gifts and related products. Defendant’s product
17
      and services plan constitutes an automatic renewal and/or continuous service plan or
18
      arrangement for the purposes of Cal. Bus. & Prof. Code § 17601.
19
      Defendant’s Terms of Service
20
            19.    During the Class Period, Defendant’s webpage, found at bumpboxes.com,
21
      contained a section entitled “Terms of Service”. This is a lengthy document in which
22
      the information concerning the recurring nature of Defendant’s subscription
23
      programs and the manner in which the subscriptions may be canceled was, at all
24
      relevant times, not set forth in clear and conspicuous language, as required by the
25
      applicable statutes and as set forth below.
26
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1     Defendant’s Terms of Service Fail to Provide Clear and Conspicuous Disclosures
2     As Required by Law.
3           20.    During the Class Period, within the Terms of Service, Defendant failed to
4     state in clear and conspicuous language (i.e., in larger type than the surrounding text, or
5     in contrasting type, font, or color to the surrounding text of the same size, or set off
6     from the surrounding text of the same size by symbols of other marks, in a manner that
7     clearly calls attention to the language) that:
8                  i)     The subscription or purchasing agreement will continue until the
9                         consumer cancels (there is language in capitals stating that the
10                        subscription will continue after the free trial period unless canceled,
11                        but language concerning recurring charges thereafter is not so
12                        prominently displayed);
13                 ii)    Described the cancellation policy that applies to the offer;
14                 iii)   Recurring charges that will be charged to the consumer’s Payment
15                        Method account with a third party as part of the automatic renewal
16                        plan or arrangement, and that the amount of the charge may change,
17                        if that is the case, and the amount to which the charge will change, if
18                        known; and
19                 iv)    The length of the automatic renewal term or that the service is
20                        continuous unless the length of tile term is chosen by the consumer.
21    Defendant Failed to Present the Automatic Renewal Offer Terms or Continuous
22    Service Offer Terms in a Clear and Conspicuous Manner Before the Subscription
23    or Purchasing Agreement was Fulfilled and in Visual Proximity to the Request for
24    Consent to the Offer in Violation of Cal. Bus. & Prof. Code § l7602(a)(l), (2).
25          21.    During the Class Period, Defendant made an automatic renewal offer for
26    its subscriptions plans to Consumers in the United States, including Plaintiff and Class
27    Members. On the pages where the subscriber essentially finalized the purchase, there
28    was no description of that policy. Accordingly, the website did not contain automatic

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1     renewal offer terms or continuous service offer terms as defined by Cal. Bus. & Prof.
2     Code § 17601(b).
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                                     CLASS ACTION COMPLAINT
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1           22.   As a result, during the class period, prior to charging Plaintiff and Class
2     Members, Defendant failed to obtain Plaintiff’s and Class Members’ affirmative
3     consent to the automatic renewal offer terms or continuous service offer terms as
4     required by Cal. Bus. & Prof. Code § 17602(a)(1), (2).
5           23.   Because of Defendant’s failure to gather affirmative consent to the
6     automatic renewal terms, all goods, wares, merchandise, or products, sent to Plaintiff
7     and Class Members under the automatic renewal or continuous service agreement are
8     deemed to be an unconditional gift pursuant to Cal. Bus. & Prof. Code § 17603, and
9     Plaintiff and Class Members may use or dispose of the same in any manner they see fit
10    without any obligation whatsoever on their part to Defendant, including, but not limited
11    to, bearing the cost of, or responsibility for, shipping any goods, wares, merchandise or
12    products.
13    Defendant Failed to Provide an Acknowledgment as Required by Cal. Bus. &
14    Prof. Code §§ 17602(a)(3) and 17602(b)
15          24.   Furthermore, and in addition to the above, after Plaintiff and Class
16    Members subscribed to one of Defendant’s subscription plans, Defendant sent to
17    Plaintiff and Class Members email follow-ups to their purchases, including emails
18    entitled “Your Bump Boxes order receipt,” but has failed, and continues to fail, to
19    provide an acknowledgement that includes the automatic renewal or continuous service
20    offer terms, cancellation policy, and information on how to cancel in a manner that is
21    capable of being retained by Plaintiff and Class Members in violation of Cal. Bus. &
22    Prof. Code §§ 17602(a)(3) and 17602(b).
23    ///
24    ///
25    ///
26    ///
27    ///
28    ///

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     From: Bump Boxes <Hello@bumpboxes.com>
1
     Date: Mon, Dec 12, 2016 at 5:48 PM
2
     Subject: Your Bump Boxes order receipt from 12/12/2016
3
     To: kathyilira@gmail.com
4

5

6

7

8

9

10

11

12

13
                    4.          Thank you for your order
14

15

16

17              Your order has been received and is now being processed. Your order details
18              are shown below for your reference:

19
                       A.       ORDER #123643
20

21
                  Product                                     Quantity       Price
22

23                Monthly Pregnancy Subscription              1              $39.99
24

25                Subtotal:                                                  $39.99
26
27

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1

2

3              Discount:                                                  -$12.00
4

5              Payment Method:                                            Credit Card

6
               Total:                                                     $27.99
7

8                   B.      SUBSCRIPTION INFORMATION:
9

10             Subscription       Start Date      End Date              Price

11

12             123644             12/12/2016      When Cancelled        $39.99 / month

13

14           View your invoice.

15

16                  C.      CUSTOMER DETAILS

17              •   Email: kathyilira@gmail.com

18              •   Tel: 5622013323

19
                            1.     BILLING                         2.    SHIPPING
20                                 ADDRESS                               ADDRESS

21           Kathy Lira                             Kathy Lira
             16124 Rosecrans Ave F2                 16124 Rosecrans Ave F2
22           La Mirada, CA 90638                    La Mirada, CA 90638

23

24
                                               Bump Boxes
25

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     From: "Bump Boxes" <bumpboxes@gmail.com>
1
     Date: Jan 17, 2017 9:42 AM
2
     Subject: Your order: 137399
3
     To: <kathyilira@gmail.com>
4
     Cc:
5

6
     Kathy,
7    Your order #137399 has shipped and the tracking information is below. Thank you for your business! Please
     DO NOT REPLY to this email.
8
     Shipped on 1/9/2017 using FedEx SmartPost®: 9261299990142620318357
9
     Sincerely,
     Bump Boxes
10

11

12                                  CLASS ACTION ALLEGATIONS

13            25.   Plaintiff brings this action, on behalf of herself and all others similarly

14   situated, as a class action pursuant to Rule 23(a) of the Federal Rules of Civil

15   Procedure. The proposed Class (the “Class”) that Plaintiff seeks to represent is

16   composed of and defined as:

17            “All persons within California that, within the applicable statute of

18            limitations period up to and including entry of judgment in this

19            matter, purchased any product or service in response to an offer

20            constituting an “Automatic Renewal” as defined by § 17601(a) of the

21            Business and Professions Code, from Bump Boxes, Inc., its

22            predecessors, or its affiliates, via the website bumpboxes.com.”

23            26.   Excluded from the Class are governmental entities, Defendant, any entity

24   in which Defendant has a controlling interest, and Defendant’s officers, directors,

25   affiliates, legal representatives, employees, co-conspirators, successors, subsidiaries,

26   and assigns, and individuals bound by any prior settlement. Also excluded from the

27   Class is any judge, justice, or judicial officer presiding over this matter.

28            27.   This action is brought and may be properly maintained as a class action

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1    pursuant to the provisions of Federal Rule of Civil Procedure 23(a)(1)-(4) and 23(b)(1)-
2    (3).   This action satisfies the numerosity, typicality, adequacy, predominance and
3    superiority requirements of those provisions.
4           28.   [Fed. R. Civ. P. 23(a)(1)] The Class is so numerous that the individual
5    joinder of all of its members is impractical. While the exact number and identities of
6    Class members are unknown to Plaintiff at this time and can only be ascertained
7    through appropriate discovery, Plaintiff is informed and believes the Class includes
8    hundreds of thousands of members. Plaintiff alleges that the Class may be ascertained
9    by the records maintained by Defendant.
10          29.   [Fed. R. Civ. P. 23(a)(2)] Common questions of fact and law exist as to all
11   members of the Class that predominate over any questions affecting only individual
12   members of the Class. These common legal and factual questions, which do not vary
13   from class member to class member, and which may be determined without reference to
14   the individual circumstances of any class member, include, but are not limited to, the
15   following:
16                   i. Whether during the Class Period Defendant failed to present the
17                      automatic renewal offer terms, or continuous service offer terms, in
18                      a clear and conspicuous manner before the subscription or
19                      purchasing agreement was fulfilled and in visual proximity to the
20                      request for consent to the offer in violation of Cal. Bus. & Prof.
21                      Code § 17602(a)(l);
22                  ii. Whether during the Class Period Defendant charged Plaintiff’s and
23                      Class Members’ Payment Method for an automatic renewal or
24                      continuous service without first obtaining the Plaintiff’s and Class
25                      Members’ affirmative consent to the automatic renewal offer terms
26                      or continuous service offer terms in violation of Cal. Bus. & Prof.
27                      Code§ 17602(a)(2);
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1                  iii. Whether during the Class Period Defendant failed to provide an
2                      acknowledgement that included the automatic renewal or continuous
3                      service offer terms, cancellation policy, and information on how to
4                      cancel in a manner that is capable of being retained by Plaintiff and
5                      Class Members, in violation of Cal. Bus. & Prof. Code §
6                      17602(a)(3);
7                  iv. Whether during the Class Period Defendant failed to provide an
8                      acknowledgment that describes a cost-effective, timely, and easy-to-
9                      use mechanism for cancellation in violation of Cal. Bus. & Prof.
10                     Code § 17602(b);
11                  v. Whether Plaintiff and the Class Members are entitled to restitution
12                     of money paid in circumstances where the goods and services
13                     provided by Defendant are deemed an unconditional gift in
14                     accordance with Cal. Bus. & Prof. Code§ 17603;
15                 vi. Whether Plaintiff and Class Members are entitled to restitution in
16                     accordance with Cal. Bus. & Prof. Code §§ 17200, 17203;
17                 vii. Whether Plaintiff and Class Members are entitled to injunctive relief
18                     under Cal. Bus. & Prof. Code § 17203;
19                viii. Whether Plaintiff and Class Members are entitled to attorneys’ fees
20                     and costs under California Code of Civil Procedure § 1021.5; and
21                 ix. The proper formula(s) for calculating the restitution owed to Class
22                     Members.
23         30.   [Fed. R. Civ. P. 23(a)(3)] Plaintiff’s claims are typical of the claims of the
24   members of the Class. Plaintiff and all members of the Class have sustained injury and
25   are facing irreparable harm arising out of Defendant’s common course of conduct as
26   complained of herein. The losses of each member of the Class were caused directly by
27   Defendant’s wrongful conduct as alleged herein.
28   ///

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1          31.    [Fed. R. Civ. P. 23(a)(4)] Plaintiff will fairly and adequately protect the
2    interests of the members of the Class. Plaintiff has retained attorneys experienced in the
3    prosecution of class actions, including complex consumer and mass tort litigation.
4          32.    [Fed. R. Civ. P. 23(b)(3)] A class action is superior to other available
5    methods of fair and efficient adjudication of this controversy, since individual litigation
6    of the claims of all Class members is impracticable. Even if every Class member could
7    afford individual litigation, the court system could not. It would be unduly burdensome
8    to the courts in which individual litigation of numerous issues would proceed.
9    Individualized litigation would also present the potential for varying, inconsistent, or
10   contradictory judgments and would magnify the delay and expense to all parties and to
11   the court system resulting from multiple trials of the same complex factual issues. By
12   contrast, the conduct of this action as a class action, with respect to some or all of the
13   issues presented herein, presents fewer management difficulties, conserves the
14   resources of the parties and of the court system, and protects the rights of each Class
15   member.
16         33.    [Fed. R. Civ. P. 23(b)(1)(A)] The prosecution of separate actions by
17   thousands of individual Class members would create the risk of inconsistent or varying
18   adjudications with respect to, among other things, the need for and the nature of proper
19   notice, which Defendant must provide to all Class members.
20         34.    [Fed. R. Civ. P. 23(b)(1)(B)] The prosecution of separate actions by
21   individual class members would create a risk of adjudications with respect to them that
22   would, as a practical matter, be dispositive of the interests of the other Class members
23   not parties to such adjudications or that would substantially impair or impede the ability
24   of such non-party Class members to protect their interests.
25         35.    [Fed. R. Civ. P. 23(b)(2)] Defendant has acted or refused to act in respects
26   generally applicable to the Class, thereby making appropriate final injunctive relief with
27   regard to the members of the Class as a whole.
28   ///

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1                                  FIRST CAUSE OF ACTION
2          FAILURE TO PRESENT AUTOMATIC RENEWAL OFFER TERMS OR
3                 CONTINUOUS SERVICE OFFER TERMS CLEARLY AND
4     CONSPICUOUSLY AND IN VISUAL, PROXIMITY TO THE REQUEST FOR
5                 CONSENT OFFER (CAL. BUS. & PROF. CODE§ 17602(a)(l))
6    (By Plaintiff, on her own behalf and on behalf of the Class, against All Defendants)
7           36.     The foregoing paragraphs are alleged herein and are incorporated herein
8    by reference.
9           37.     Cal. Bus. Prof. Code§ 17602(a)(1) provides:
10
                  (a) It shall be unlawful for any business making an automatic renewal or
11                continuous service offer to a consumer in this state to do any of the
12                following:

13                     (l) Fail to present the automatic renewal offer terms or continuous
                       service offer terms in a clear and conspicuous manner before the
14                     subscription or purchasing agreement is fulfilled and in visual
                       proximity, or in the case of an offer conveyed by voice, in temporal
15
                       proximity, to the request for consent to the offer.
16          38.     Plaintiff and Class Members purchased Defendant’s pregnancy party
17   gifts and related products for personal, family or household purposes. Defendant
18   failed to present the automatic renewal offer terms, or continuous service offer terms, in
19   a clear and conspicuous manner and in visual proximity the request for consent to the
20   offer before the subscription or purchasing agreement was fulfilled.
21          39.     As a result of Defendant’s violations of Cal. Bus. & Prof. Code §
22   §17602(a)(l), Defendant is subject under Cal. Bus. & Prof. Code § 17604 to all civil
23   remedies that apply to a violation of Article 9, of Chapter l, of Part 3, of Division 7 of
24   the Cal. Bus. & Prof. Code.
25          40.     Plaintiff, on behalf of herself and Class Members, requests relief as
26   described below.
27
     ///
28

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1                               SECOND CAUSE OF ACTION
2          FAILURE TO OBTAIN CONSUMER’S AFFIRMATIVE CONSENT
3                       BEFORE THE SUBSCRIPTION IS FULFILLED
4                    (CAL BUS. & PROF. CODE §§ 17602(a)(2) and 17603)
5    (By Plaintiff, on her own behalf and on behalf of the Class, against All Defendants)
6          41.    The foregoing paragraphs are alleged herein and are incorporated herein
7    by reference.
8          42.    Cal. Bus. & Prof. Code § 17602(a)(2) provides:
9                 (a) It shall be unlawful for any business making an automatic renewal or
                  continuous service offer to a consumer in this state to do any of the
10
                  following:
11
                         (2) Charge the consumer’s credit or debit card or the consumer’s
12                       account with a third party for an automatic renewal or continuous
                         service without first obtaining the consumer, s affirmative consent to
13                       the agreement containing the automatic renewal offer terms or
14                       continuous service offer terms.

15
           43.    Plaintiff and Class Members purchased Defendant’s pregnancy party

16
     gifts and related products for personal, family or household purposes. Defendant

17
     charged, and continues to charge Plaintiff’s and Class Members’ Payment Method for

18
     an automatic renewal or continuous service without first obtaining Plaintiff’s and Class

19
     Members affirmative consent to the Terms of Service containing the automatic renewal

20
     offer terms or continuous service offer terms.

21
           44.    As a result of Defendant’s violations of Cal. Bus. & Prof. Code §

22
     17602(a)(2), Defendant is liable to provide restitution to Plaintiff and Class Members

23
     under Cal. Bus. & Prof. Code § 17603.

24
           45.    Plaintiff, on behalf of herself and Class Members, requests relief as

25
     described below.

26   ///

27   ///

28   ///

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1                                THIRD CAUSE OF ACTION
2                 FAILURE TO PROVIDE ACKNOWLEDGMENT WITH
3          AUTOMATIC RENEWAL TERMS AND INFORMATION REGARDING
4                                CANCELLATION POLICY
5                    (CAL. BUS. & PROF. CODE §§ 17602(a)(3), 17602(b))
6    (By Plaintiff, on her own behalf and on behalf of the Class, against All Defendants)
7           46.   The foregoing paragraphs are alleged herein and are incorporated herein
8    by reference.
9           47.   Cal. Bus. & Prof. Code§ 17602(a)(3) provides:
10
                  (a) It shall be unlawful for any business making an automatic renewal or
11                continuous service offer to a consumer in this state to do any of the
12                following:

13                      (3) Fail to provide an acknowledgment that includes the
                        automatic renewal or continuous service offer terms,
14                      cancellation policy, and information regarding how to cancel in
                        a manner that is capable of being retained by the consumer. If
15
                        the offer includes a free trial, the business shall also disclose in
16                      the acknowledgment how to cancel and allow the consumer to
                        cancel before the consumer pays for the goods or services.
17
            48.   Cal. Bus. & Prof. Code§ 17602(b) provides:
18
                        “A business making automatic renewal or continuous service
19                      offers shall provide a toll-free telephone number, electronic
20                      mail address, a postal address only when the seller directly bills
                        the consumer, or another cost-effective, timely, and easy-to-use
21                      mechanism for cancellation that shall be described in the
                        acknowledgment specified in paragraph (3) of subdivision (a).”
22

23          49.   Plaintiff and Class Members purchased Defendant’s pregnancy party
24   gifts and related products for personal, family or household purposes. Defendant
25   failed to provide an acknowledgement that includes the automatic renewal or
26   continuous service offer terms, cancellation policy, and information on how to cancel in
27   a manner that is capable of being retained by Plaintiff and Class Members.
28   ///

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1          50.    As a result of Defendant’s violations of Cal. Bus. & Prof. Code §§
2    17602(a)(3) and 17602(b), Defendant is subject to all civil remedies under Cal. Bus. &
3    Prof. Code § 17604 that apply to a violation of Article 9, of Chapter 1 of Part 3, of
4    Division 7 of the Cal. Bus. & Prof. Code.
5          51.    Plaintiff, on behalf of herself and Class Members, requests relief as
6    described below.
7                               FOURTH CAUSE OF ACTION
8                    VIOLATION OF THE UNFAIR COMPETITION LAW
9                        (CAL. BUS. & PROF. CODE§ 17200 et. seq.)
10   (By Plaintiff, on her own behalf and on behalf of the Class, against All Defendants)
11         52.    The foregoing paragraphs are alleged herein and are incorporated herein
12   by reference.
13         53.    Cal. Bus. & Prof. Code § 17200, et seq. (the “UCL”) prohibits unfair
14   competition in the form of any unlawful or unfair business act or practice. Cal. Bus. &
15   Prof. Code § 17204 allows “a person who has suffered injury in fact and has lost money
16   or property” to prosecute a civil action for violation of the UCL. Such a person may
17   bring such an action on behalf of himself or herself and others similarly situated who
18   are affected by the unlawful and/or unfair business practice or act.
19         54.    Since December l, 2010, and continuing during the Class Period,
20   Defendant has committed unlawful and/or unfair business acts or practices as defined
21   by the UCL, by violating Cal. Bus. & Prof. Code §§ 17602(a)(l), 17602(a)(2),
22   17602(a)(3) and 17602(b). The public policy which is a predicate to a UCL action
23   under the unfair prong of the UCL is tethered to a specific statutory provision. See Cal.
24   Bus. & Prof. Code §§ 17600, 17602. In addition, besides offending an established
25   public policy, Defendant’s act or practice is immoral, unethical, oppressive,
26   unscrupulous or substantially injurious to consumers.            Further, the utility of
27   Defendant’s conduct is outweighed by the gravity of the harm to Plaintiff and Class
28   Members.

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1          55     Plaintiff has standing to pursue this claim because she suffered injury in
2    fact and has lost money or property as a result of Defendant’s actions as set forth
3    herein. Plaintiff purchased Defendant’s pregnancy party gifts and related products
4    for personal, family, or household purposes.
5          56.    As a direct and proximate result of Defendant’s unlawful and/or unfair
6    business acts or practices described herein, Defendant has received, and continues to
7    hold, unlawfully obtained property and money belonging to Plaintiff and Class
8    Members in the form of payments made for subscription agreements by Plaintiff and
9    Class Members. Defendant has profited from its unlawful and/or unfair business acts or
10   practices in the amount of those business expenses and interest accrued thereon.
11         57.    Plaintiff and similarly-situated Class Members are entitled to restitution
12   pursuant to Cal. Bus. & Prof. Code § 17203 for all monies paid by Class Members
13   under the subscription agreements from December 1, 2010, to the date of such
14   restitution at rates specified by law. Defendant should be required to disgorge all the
15   profits and gains it has reaped and restore such profits and gains to Plaintiff and Class
16   Members, from whom they were unlawfully taken.
17         58.    Plaintiff and similarly situated Class Members are entitled to enforce all
18   applicable penalty provisions pursuant to Cal. Bus. & Prof. Code § 17202, and to obtain
19   injunctive relief pursuant to Cal. Bus. & Prof. Code § 17203.
20         59.    Plaintiff has assumed the responsibility of enforcement of the laws and
21   public policies specified herein by suing on behalf of herself and other similarly-
22   situated Class Members. Plaintiff’s success in this action will enforce important rights
23   affecting the public interest. Plaintiff will incur a financial burden in pursuing this
24   action in the public interest. An award of reasonable attorneys’ fees to Plaintiff is thus
25   appropriate pursuant to California Code of Civil Procedure§ 1021.5.
26         60.    Plaintiff, on behalf of herself and Class Members, request relief as
27   described below.
28   ///

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1                                   PRAYER FOR RELIEF
2          WHEREFORE, Plaintiff requests the following relief:
3          A.     That the Court determine that this action may be maintained as a class
4    action, and define the Class as requested herein;
5          B.     That the Court find and declare that Defendant has violated Cal. Bus. &
6    Prof. Code § 17602(a)(1) by failing to present the automatic renewal offer terms, or
7    continuous service offer terms, in a clear and conspicuous manner and the visual
8    proximity to the request for consent to the offer before the subscription or purchasing
9    agreement was fulfilled;
10         C.     That the Court find and declare that Defendant has violated Cal. Bus. &
11   Prof. Code § 17602(a)(2) by charging Plaintiff’s and Class Members’ Payment Method
12   without first obtaining their affirmative consent to the automatic renewal offer·terms or
13   continuous service terms;
14         D.     That the Court find and declare that Defendant has violated Cal. Bus. &
15   Prof. Code § 17602(a)(3) by failing to provide an acknowledgement that includes the
16   automatic renewal or continuous service offer terms, cancellation policy and
17   information on how to cancel in a manner that is capable of being retained by Plaintiff
18   and Class Members;
19         E.     That the Court find and declare that Defendant has violated Cal. Bus. &
20   Prof. Code § 17602(b) by failing to provide an acknowledgment that describes a toll-
21   free telephone number, electronic mail address, a postal address only when the seller
22   directly bills the consumer, or another cost-effective, timely, and easy-to-use
23   mechanism for cancellation;
24         F.     That the Court find and declare that Defendant has violated the UCL and
25   committed unfair and unlawful business practices by violating Cal. Bus. & Prof. Code §
26   17602;
27   ///
28   ///

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1          G.       That the Court award to Plaintiff and Class Members damages and full
2    restitution due to Defendant’s UCL violations, pursuant to Cal. Bus. & Prof. Code §§
3    17200-17205 in the amount of their subscription agreement payments;
4          H.       That the Court find that Plaintiff and Class Members are entitled to
5    injunctive relief pursuant to Cal. Bus. & Prof. Code § 17203;
6          I.       That Plaintiff and the Class be awarded reasonable attorneys’ fees and
7    costs pursuant to California Code of Civil Procedure § 1021.5, and/or other applicable
8    law; and
9          J.       That the Court award such other and further relief as this Court may deem
10   appropriate.
11

12
     Dated: March 16, 2018                  PACIFIC TRIAL ATTORNEYS, APC

13
                                            By: /s/ Scott J. Ferrell
14                                          Scott. J. Ferrell
                                            Attorneys for Plaintiff
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